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                 IN THE LINITED STATES DISTRICT COURT    OCT 2 3 ZOII
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA U.8. OII
                              ASHEVTLLE      DrvrsroN                          *'-ffi#'o
                              DOCKET NO. 1)7CR44

LNITED STATE,S OF AMERICA
                                                  CONSENT ORDER ANI)
              v.                                JUDGMENT OF FORFEITURE

2) MAY LYNN ROBERTS


      WHEREAS, the defendant, MAY LYNN ROBERTS, has entered into a plea
agreement (incorporated by reference herein) with the United States and has
voluntarily pleaded guilty pursuant to Fed. R. Crim. P. 11 to one or more criminal
offenses under which forfeiture may be ordered;

       WHEREAS, the defendant and the United States stipulate and agree that the
property described below constifutes property derived from or traceable to proceeds
of the defendant's offense(s) herein; property involved in the offenses, or any
property traceable to such property; and/or property used in any manner to facilitate
the commission of such offense(s); or substitute property as defined by 2l U.S.C. $
853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject to forfeiture pursuant
to 18 u.S.C.5 924(d) and 28 u.S.C.9 2461(c), provided, however, that such
forfeiture is subject to any and all third party claims and interests, pending final
adjudication herein; the defendant waives his interest, if any, in the property and
agrees to the forfeiture of such interest;

       WHEREAS, the defendant herein waives the requirements of Fed. R. Crim.
P. 32.2 regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

       WHEREAS, pursuant to Fed. R. crim. p.32.2(b)(1) & (c)(2),the court finds
that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty;




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       WHEREAS, the defendant withdraws any claim previously submitted in
response to an administrative forfeiture or civil forfeiture proceeding concerning any
of the property described below. If the defendant has not previously submitted such
a claim, the defendant hereby waives all right to do so. If any administrative
forfeiture or civil forfeiture proceeding concerning any of the property described
below has previously been stayed, the defendant hereby consents to a lifting of the
stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorizedto
enter this Order by the previous Order of this Court No. 3:05MC302-C (September
8, 2005);

     NOW, THEREFORE, IT IS HEREBY ORDERED THAT the following
property is forfeited to the United States:

            . High Standard Deluxe, .22 caliber revolver, bearing serial number
              212811R-107, with nine (9) rounds of .22 caliber ammunition; and
            o Two (2) boxes of .22 caliber ammunition.
       The United States Marshal and/or other property custodian for the
investigative agency is authonzed to take possession and maintain custody of the
above-described tangible property.

       If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. g
853(n), andlor other applicable law, the United States shall publish notice and
provide direct written notice of this forfeiture.

      As to any firearms and/or ammunition listed above and/or in the charging
instrument, defendant consents to disposal by federal, state, or local law enforcement
authorities upon such legal process as they, in their sole discretion, deem to be
legally sufficient , and waives any and all right to further notice of such process or
such destruction.

      Any person, other than the defendant, asserting any legal interest in the
property ffiay, within thirty days of the publication of notice or the receipt of notice,
whichever is earlier, petition the court for a hearing to adjudicate the validity of the
alleged interest.




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      Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry of this Order of Forfeiture,
the United States Attorney's Office is authorizedto conduct any discovery needed
to identify, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Fed. R.
Civ. P. 45.

       Following the Court's disposition of all timely petitions filed, a final order of
forfeiture shall be entered, as provided by Fed. R. Crim. P. 32.2(cX2). If no third
party files a timely petition, this order shall become the final order and judgment of
forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United States shall
have clear title to the property and shall dispose of the property according to law.
Pursuant to Fed. R. Crim. P. 32.2(b)(4XA), the defendant consents that this order
shall be final as to defendant upon filing.

SO AGREED:




          PHER S. HESS
Special Assistant United States Attorney




         NN K. BURKE
Attorney for Defendant
                                               Signed: odaa.     z3d ,2017

                                           DENNIS L. HOWELL
                                           United States Magistrate Judge
                                           Western District of North Carolina


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